After a hearing the Board of Railroad Commissioners granted to the Wilson Storage  Transfer Company a certificate of public convenience and necessity to operate a Class A motor carrier for the transportation of property. Thereafter the petitioners obtained from this court a writ of certiorari to review the order of the board granting the certificate.
Since the granting of the writ by this court, the opinion in the case of Chicago, Milwaukee, St. Paul  Pacific Railroad Company v. Board of Railroad Commissioners 64 S.D. 297, 266, N.W. *Page 581 
660, has been handed down. We find nothing in the instant case which convinces us that we should exercise our discretion and take original jurisdiction. We are therefore of the opinion that we improvidently issued the writ and it will be quashed and the proceedings dismissed without prejudice and without costs.
All the Judges concur.